                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

RICHARD COX                                          No.: 3:22 CV 01209 (JBA)
          Plaintiff



CITY OF NEW HAVEN, ET AL
           Defendants                              : November     28,2022

                          ANSWER OF JOCELYN LAVANDIER

JURISDICTION AND VENUE

       1.     As to the allegations contained in Paragraphs       1   ,2,3,4   and 6, the

defendant Jocelyn Lavandier has insufficient information or knowledge upon which to

form a belief and leaves the Plaintiff to his proof thereof.

       2.     Paragraph 5 is admitted as to Jocelyn Lavandier; as to other defendants,

the defendant Jocelyn Lavandier has insufficient information or knowledge upon which

to form a belief and leaves the Plaintiff to his proof thereof.

       3.      Paragraph 7 is denied as to Jocelyn Lavandier; as to other defendants,

the defendant Jocelyn Lavandier has insufficient information or knowledge upon which

to form a belief and leaves the Plaintiff to his proof thereof.

FIRST COUNT

       1.     As to the allegations contained in Paragraphs       1   ,2,3, 4,5,6,7    and B, the

defendant Jocelyn Lavandier has insufficient information or knowledge upon which to

form a belief and leaves the Plaintiff to his proof thereof.
SECOND COUNT THROUGH TENTH COUNT

       The defendant Jocelyn Lavandier does not answer the Second, Third, Fourth,

Fifth, Sixth, Seventh, Eighth, Nineth and Tenth Counts as they are not directed towards

her.

ELEVENTH COUNT

       1.      The answers to Paragraphs       I   through B of the First Count are hereby

made answers to Paragraphs 1 through B of the Eleventh Count.

       2.      As to the allegations contained in Paragraphs 9, 10, 12, 13, 14, 15 and 16,

the defendant Jocelyn Lavandier has insufficient information or knowledge upon which

to form a belief and leaves the Plaintiff to his proof thereof.

       3.      Paragraph 11 is denied.

TWELFTH COUNT

       1   .   The answers to Paragraphs 1 through 10 of the Eleventh Count are

hereby made answers to Paragraphs 1 through 10 of the Twelfth Count.

       2.      Paragraph 11 is denied.

       3.      As to the allegations contained in Paragraphs 1 2,13, 14, 15 and 16, the

Defendant Jocelyn Lavandier has insufficient information or knowledge upon which to

form a belief and leaves the Plaintiff to his proof thereof.

THIRTEENTH COUNT

       1   .   The answers to Paragraphs 1 'through 10 of the Twelfth Count are hereby

made answers to Paragraphs       '1   through 10 of the Thirteenth Count.




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       2.     As to the allegations contained in Paragraph     11   , 15, 16, 17 , 1B and 19, the

defendant Jocelyn Lavandier has insufficient information or knowledge upon which to

form a belief and leaves the Plaintiff to his proof thereof.

       3.     Paragraphs 12,13 and 14 are denied.

FOURTEENTH COUNT

       1.     The answers to Paragraphs 'l through 11 of the Eleventh Count are

hereby made answers to Paragraphs 1 through 11 of the Fourteenth Count.

       2.     Paragraphs 12 and 13 are denied.

FIFTEENTH COUNT

       1.     The answers to Paragraphs 1 through 11 of the Eleventh Count are

hereby made answers to Paragraphs 1 through 11 of the Fifteenth Count.

       2.      Paragraph 12 is denied.

SIXTEENTH COUNT

       1.      The answers to Paragraphs 1 through 11 of the Eleventh Count are

hereby made answers to Paragraphs 'l through 11 of the Sixteenth Count.

       2.      Paragraph 12 is denied.

SEVENTEENTH COUNT

       1.      The answers to Paragraphs 1 through 11 of the Eleventh Count are

hereby made answers to Paragraphs 1 through 11 of the Seventeenth Count.

       2.      Paragraphs 12 and 13 are denied.

       3.      That portion of Paragraphs 14 and 15 which states, "As a direct and

proximate result of the aforesaid negligence and carelessness of the defendants," is

denied as to Jocelyn Lavandier; as to the allegations contained in the balance of said



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Paragraph, the Defendant Jocelyn Lavandier has insufficient information or knowledge

upon which to form a belief and leaves the Plaintiff to his proof thereof.

       4.     That portion of Paragraph 16 which states, "As a fudher result of the

negligence and carelessness of the defendants," is denied as to Jocelyn Lavandier; as

to the allegations contained in the balance of said Paragraph, the Defendant Jocelyn

Lavandier has insufficient information or knowledge upon which to form a belief and

leaves the Plaintiff to his proof thereof.

       5.     As to the allegations contained in Paragraph 17, the defendant Jocelyn

Lavandier has insufficient information or knowledge upon which to form a belief and

leaves the Plaintiff to his proof thereof.

EIGHTEENTH AND NINETEENTH COUNTS

       The defendant Jocelyn Lavandier does not answer the Eighteenth and

Nineteenth Counts as they are not directed towards her.

                              FIRST AFFIRMATIVE DEFENSE

       The acts and conduct of the defendant Jocelyn Lavandier were objectively

reasonable under the circumstances. Accordingly, the defendant Jocelyn Lavandier is

entitled to qualified immunity.

                            SECOND AFFIRMATIVE DEFENSE

       The acts and conduct complained of by the plaintiff occurred within the scope of

the defendant Jocelyn Lavandier's official duties as a police'officer and did not violate

any clearly established constitutional or federal statutory right of which the defendant

reasonably should have been aware. Accordingly, the defendant Jocelyn Lavandier is

entitled to qualified immunity.



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                           THIRD AFFIRMATIVE DEFENSE

      The plaintiff has failed to state a claim upon which relief may be granted.

                          FOURTH AFFIRMATIVE DEFENSE

      Pursuant to Connecticut General Statutes Section 52-577n, or the common law,

the defendant Jocelyn Lavandier is entitled to governmental immunity in that her actions

were performed in good faith, without malice, and in the discretionary performance of

governmental duties.

                                JURY TRIAL DEMAND

      The defendant Jocelyn Lavandier demands a trial by jury on all claims

                                  DEFENDANT JOCELYN LAVANDI ER,


                                  /s/William J. Mellev lll
                                  William J. Melley lll
                                  Federal Bar No. CT 06355
                                  250 Hudson Street
                                  Hartford, Connecticut 061 06
                                  (860) 247 -9933lfax: (860) 247 -9944
                                  Email: wimellev@wimellev.com




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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

RICHARD COX                                        No.: 3:22 CV 01209 (JBA)
          Plaintiff



CITY OF NEW HAVEN, ET AL
          Defendants                             : November28,2022
                              CERTIFIGATE OF SERVICE

         I hereby certify that on November 28,2022 a copy of the foregoing Answer with
Affirmative Defenses was filed electronically and served by mail on anyone unable to
accept electronic filing. Notice of this filing will be sent by email to all parties by
operation of the Court's electronic filing system or by mail to anyone unable to accept
electronic filing as indicated on the Notice of Electronic Filing. Parties may access this
filing through the Court's CM/ECF System.


                                   /s/William J. Mellev lll
                                   William J. Melley lll
                                   Federal Bar No. CT 06355
                                   250 Hudson Street
                                   Hartford, Connecticut 061 06
                                   (860) 247 -9933lfax: (860) 247 -9944
                                   Email : wimellev@wimellev.com




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